         Case 6:15-cr-60014-SOH Document 53                               Filed 07/08/22 Page 1 of 3 PageID #: 183
AO 245D (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                       Sheet 1



                                     UNITED STATES DISTRICT COURT
                                                         Western District of Arkansas
        UNITED STATES OF AMERICA                                          Judgment in a Criminal Case
                   v.                                                     (For Revocation of Probation or Supervised Release)


                                                                          Case No.         6:15CR60014-001
               JEREMY BASSFORD
                                                                          USM No.          12549-010
                                                                                                     Alex K. Wynn
                                                                                                   Defendant’s Attorney
THE DEFENDANT:
                                                        One, two, three, four, five, six, seven, eight,
    admitted guilt to violation of condition(s)                                                            of the term of supervision.
                                                        nine and ten
    was found in violation of condition(s) count(s)                                   after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number           Nature of Violation                                                               Violation Ended
One                        Use of controlled substances                                                      February 18, 2020
Two                        Association with known convicted felon                                            September 30, 2019
Three                      Failure to report for drug testing                                                February 12, 2020
Four                       Failure to attend substance abuse treatment                                       February 14, 2020
Five                       Unauthorized travel outside of district                                           February 14, 2020
Six                        Failure to complete substance abuse treatment                                     March 24, 2020
Seven                      New law violation                                                                 May 4, 2020
       The defendant is sentenced as provided in pages 2 through 3                    of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has not violated condition(s)                               and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec.              7995                                           July 1, 2022
                                                                                              Date of Imposition of Judgment
Defendant’s Year of Birth:         1976

City and State of Defendant’s Residence:                                                             Signature of Judge
                 Hot Springs, Arkansas
                                                                               Susan O. Hickey, Chief United States District Judge
                                                                                                  Name and Title of Judge



                                                                                                          July 8, 2022
                                                                                                            Date
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DEFENDANT:                BASSFORD, JEREMY
CASE NUMBER:              6:15CR60014-001

                                                      ADDITIONAL VIOLATIONS

                                                                                                      Violation
Violation Number               Nature of Violation                                                    Concluded
Eight                          Association with known convicted felon                                 May 4, 2020
Nine                           Fail to notify U.S. Probation Officer of law enforcement contact       May 7, 2020
Ten                            Fail to notify U.S. Probation Officer of change of address             May 7, 2020
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                       Sheet 2— Imprisonment

                                                                                                    Judgment — Page   3       of   3
DEFENDANT:                BASSFORD, JEREMY
CASE NUMBER:              6:15CR60014-001


                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of :
                                     Time served with no term of supervision to follow.




        The court makes the following recommendations to the Bureau of Prisons:




        The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:
              at                                      a.m.           p.m.        on                                       .
              as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              before 2 p.m. on                                              .
              as notified by the United States Marshal.
              as notified by the Probation or Pretrial Services Office.

                                                                     RETURN

I have executed this judgment as follows:




        Defendant delivered on                                                           to

at                                                 with a certified copy of this judgment.




                                                                                                 UNITED STATES MARSHAL


                                                                            By
                                                                                              DEPUTY UNITED STATES MARSHAL
